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                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)             Pamela Folse Burdett
was received by me on (date)             April 8, 2021 .

          uX I served the subpoena by delivering a copy to the named person as follows:
          Pamela Burdett
                                                                                      on (date)    April 22, 2021                  ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date: April 22, 2021
                                                                                                     Server’s signature

                                                                 Tim Moore                 Special Agent
                                                                                                   Printed name and title




                                                                 2901 Leon C. Simon Blvd. New Orleans, LA 70126
                                                                                                      Server’s address

Additional information regarding attempted service, etc:
